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  EXHIBIT A
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                             Ryan Quarles
                           January 31, 2022



        IN THE UNITED STATES DISTRICT COURT
      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

RYAN QUARLES,                : No. 21-2813
                             :
          Plaintiff,         :
                             :
          vs.                :
                             :
COMMISSIONER DANIELLE OUTLAW,:
Et al,                       :
                             :
          Defendants.        :

                            -        -   -
                Monday, January 31, 2022
                            -        -   -
                 Videoconference deposition of RYAN
QUARLES was taken, pursuant to notice, before
Kathryn Doyle, a Notary Public of the Commonwealth
of Pennsylvania, on the above date, commencing at
2:02 p.m.
                           -     -       -
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                                              Ryan Quarles
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                                              Page 14                                                    Page 16
 1   date on February -- I believe February -- I don't      1           THE WITNESS: Oh. I got arrested in --
 2   remember the exact date, but I had a court date and    2       yeah. I got arrested in February, so -- I
 3   I came up here. It was in February, though, early      3       wasn't in Philadelphia in January. I came in
 4   February.                                              4       February. So I came here to visit my family in
 5       Q Of 2020?                                         5       February, so -- before that, I was in Georgia,
 6       A Yeah.                                            6       though. So I wasn't really here in January. I
 7             And then I turned around and I had           7       was here in February.
 8   another court date like two weeks later, so I just     8   BY MS. ZABEL:
 9   stayed up here with family.                            9       Q Okay. How long were you in Philadelphia
10       Q And what was the case for that you had a        10   before you were arrested by Officers Ponente and
11   court date?                                           11   Rozman?
12       A For the case that the lawsuit is for now.       12       A Maybe a weekend.
13       Q Okay. So let me try to clear that up.           13       Q How long were you planning on staying to
14             The incident that we're here for            14   visit your family?
15   today was your February 2020 arrest, by Officer       15       A No later than like a week or so. I know I
16   Ponente and Officer Rozman, right?                    16   had like a week off from work, so I didn't...
17       A Yes.                                            17       Q Okay. You were arrested by Officers
18       Q Okay. So I'm asking prior to that arrest,       18   Ponente and Rozman on February 3, 2020. So that's a
19   why were you in Philadelphia?                         19   Friday --
20       A I was visiting family.                          20       A All right.
21       Q Okay.                                           21       Q -- if I'm looking at my calendar.
22       A All of my family lives here, so I just          22             Does that refresh your recollection
23   come -- I visit family and then go back home like a   23   at all about when you arrived in Philadelphia?
24   regular person does.                                  24       A Oh, okay. So it might have been late

                                              Page 15                                                    Page 17
 1      Q Yeah. So when you were visiting family,           1   January. I'm sorry about that.
 2   when did you specifically come up?                     2      Q Okay.
 3      A I don't remember -- I don't recall what           3      A Yeah. If I was arrested February 3, it
 4   exact days I came up.                                  4   had to be like late January I was here.
 5      Q So you were arrested by Officers Ponente          5      Q Okay. Where do you stay when you visit
 6   and Rozman on February 3, 2020.                        6   family in Philly?
 7             Did you come up to Philadelphia in           7      A Maybe hotels. Sometimes my mom's house,
 8   January 2020?                                          8   but I have a lot of siblings, so I hate staying
 9      A No. I wasn't in Philadelphia in January.          9   there.
10      Q Okay.                                            10      Q Do you remember in January 2020 where you
11      A I came up February.                              11   stayed?
12      Q You came up in February.                         12      A Yeah. I stayed at my mom's house, I
13             You earlier said: I had a court date        13   believe -- yeah, I stayed at my mom's house for
14   in February 2020.                                     14   about a weekend, just visiting.
15      A Yeah.                                            15      Q And is your mom's address, 1629 West
16      Q And I asked what case was that for.              16   Butler Street?
17      A The case that Ponente locked me up for.          17      A No.
18      Q Okay. So --                                      18      Q Okay. What's your mom's address?
19      A I don't know if I'm getting confused. I          19      A It's 216 Sparks Street.
20   don't know. I'm kind of confused, though. I           20      Q Okay. Who lives at 1629 West Butler
21   guess -- you said February? Yeah, February 2020.      21   Street?
22          MR. BELL: I think she's asking prior to        22      A That's my old address when I was going to
23      your encounter with Officers Ponente and           23   high school -- I don't know where that address came
24      Rozman, when did you come to Philadelphia?         24   from, though.


                                                                                   5 (Pages 14 to 17)
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 1      Q So you haven't lived at that Butler Street        1       A Yes.
 2   address since you were, like, in high school?          2           MR. BELL: You can answer that,
 3      A Yeah, yeah.                                       3       Mr. Quarles.
 4      Q Do you have a driver's license?                   4           THE WITNESS: Yes.
 5      A Yeah.                                             5   BY MS. ZABEL:
 6      Q And where is the driver's license from?           6       Q How many times?
 7   Georgia or Pennsylvania?                               7       A Once, I believe -- once.
 8      A Georgia.                                          8       Q When was that?
 9      Q Are you registered to vote?                       9       A 2018.
10      A Yeah.                                            10       Q I'm going to read to you some of the
11      Q Do you know where you're registered to           11   charges from that, and I just want you to confirm
12   vote, what state?                                     12   this is the same action that we're talking about. I
13      A Georgia.                                         13   have a docket that says in February 2018, you were
14      Q I saw in your responses to discovery that        14   charged with -- not convicted, but charged with:
15   you previously were a cable repair technician and     15   Armed robbery, aggravated assault with a deadly
16   installer; is that right?                             16   weapon, possession of a firearm during commission of
17      A Yes.                                             17   a felony, financial transaction card fraud,
18      Q Okay. For what years did you do that job?        18   financial identity fraud, and I believe that's it.
19      A 2017, 2018, 2019 -- for about three years.       19              Is that the same matter that we're
20      Q What company did you work for?                   20   talking about?
21      A Xfinity.                                         21       A Yep.
22      Q Where did you work?                              22       Q Okay. When you were arrested for that
23      A Xfinity.                                         23   February 2018 -- when you were arrested in
24      Q I'm sorry. That was a poorly worded              24   February 2018, did you spend any time incarcerated?

                                             Page 19                                                     Page 21
 1   question.                                              1      A Yeah. About -- maybe a month.
 2             I meant where was your job located?          2      Q Where were you incarcerated?
 3      A It was a contracting company in Tucker,           3      A Fulton County.
 4   Georgia.                                               4      Q And how were you released?
 5      Q And why did you stop working that job?            5      A They let me go for signature bond.
 6      A Because I got arrested and I was held             6      Q That matter is still pending; is that
 7   over, so I kind of lost my job.                        7   correct?
 8      Q You got arrested in Georgia?                      8      A Yeah. I thought it was over until I got
 9      A No. I had gotten arrested in Philadelphia         9   arrested this time, and then somehow it's just open
10   as I was visiting family.                             10   again. So I don't know what's going on with that.
11      Q Is that a different arrest than we're here       11      Q Why did you think it was over?
12   for today, the February 2020 arrest?                  12      A I mean, it got like -- I guess, like, I
13      A No. It's the same one.                           13   don't know. It was like -- it disappeared for a
14      Q So as of -- you just told me you worked          14   second. I couldn't, like, look up anything from it
15   this job 2017 to 2019.                                15   or anything from 2020 until now. It was like closed
16             As of January 2020, did you still           16   or something -- not closed, but it was like -- I
17   have a job at Xfinity?                                17   couldn't click on anything. I didn't have a warrant
18      A Yeah, yeah.                                      18   or anything, so I thought it went away.
19      Q Okay. Have you been arrested in Georgia          19      Q Do you have a lawyer for that case?
20   before?                                               20      A No.
21      A I don't want to talk about an open matter.       21      Q Is anyone from the Public Defender's
22      Q So this question isn't implicating any of        22   Office representing you?
23   your Fifth Amendments rights. It's simply asking if   23      A I don't know who the public defender is
24   you've been arrested in Georgia before?               24   right about now. I think -- last time I checked,


                                                                                   6 (Pages 18 to 21)
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 1   they switched it, so I wouldn't even, like, give you    1      Q Were you aware that the armed robbery
 2   a name and that would be the wrong name.                2   charge against you was a felony charge?
 3       Q Have you been contacted by any public             3         MR. BELL: Plead the Fifth.
 4   defender representing you about the case?               4         THE WITNESS: I'll plead the Fifth.
 5       A No.                                               5   BY MS. ZABEL:
 6       Q Did you ever retain a private attorney for        6      Q Are you aware that the aggravated assault
 7   that case?                                              7   with a deadly weapon charge against you was a felony
 8          MR. BELL: I'm going to object on                 8   charge?
 9       relevance at this point.                            9      A Plead the Fifth.
10          You can answer the question.                    10      Q Were you aware in signing your signature
11          THE WITNESS: Can you repeat the question?       11   bond that you were not permitted to carry a firearm?
12   BY MS. ZABEL:                                          12      A I plead the Fifth.
13       Q Did you retain a private attorney for that       13      Q Can you tell me the details that led to
14   case?                                                  14   your arrest in Georgia for the charges that we were
15       A No.                                              15   discussing?
16       Q I'm just looking at a name and you can           16         MR. BELL: Plead the Fifth.
17   tell me if this sounds familiar to you at all,         17         THE WITNESS: Plead the Fifth.
18   Meghan Callier.                                        18         I told you I didn't want to discuss an
19              Do you recall her being your                19      open matter.
20   attorney?                                              20   BY MS. ZABEL:
21       A She's not a private attorney, though.            21      Q Is it your understanding that you're being
22   She's a court-appointed attorney.                      22   extradited back to Georgia at some point for these
23       Q Okay. Were you aware when you signed for         23   charges?
24   your bond, as you say -- you said you did a            24      A I plead the Fifth.

                                              Page 23                                                     Page 25
 1   signature bond -- that you weren't allowed to leave     1        Q Do you have any information about when you
 2   the state?                                              2   will be extradited to Georgia?
 3          MR. BELL: Objection. Relevance -- don't          3        A I'm not sure. I really don't know what's
 4      answer that, actually. That's a Fifth                4   going on, here. I don't even know why I'm being
 5      Amendment issue, potentially.                        5   held. I probably should have been released from
 6          MS. ZABEL: So you can only make                  6   here.
 7      objections -- speaking objections as to the          7        Q Okay. So let's talk then about your
 8      form of the question, not as to relevance.           8   arrest by Officers Ponente and Rozman.
 9          Having said that, if you're instructing          9               Can you tell me what you were doing
10      your client to plead the Fifth, that is clearly     10   on February 3, 2020 prior to being arrested?
11      your right to do so and his right to answer         11        A I was going to get something to eat. I
12      that way.                                           12   was riding with a friend, and I was just driving.
13          So are you instructing him to plead the         13   And I looked up, and the cops were behind me.
14      Fifth?                                              14        Q Was your friend Nyseem(ph) Smith?
15          MR. BELL: What's the question, again?           15        A Yes.
16          MS. ZABEL: Actually, Katie, can you read        16        Q And you were the driver?
17      that back?                                          17        A Yes.
18               - - - - - -                                18        Q Were you driving your car or Nyseem's car
19    (Whereupon the court reporter read back the last      19   or somebody else's?
20                 question.)                               20        A It was his car.
21               - - - - -                                  21        Q Why were you driving?
22          MR. BELL: Plead the Fifth, Quarles.             22        A I don't know -- because I was driving.
23          THE WITNESS: I plead the Fifth.                 23        Q Okay. That's a perfectly fine answer, and
24   BY MS. ZABEL:                                          24   it's also -- I should have said -- it's perfectly


                                                                                    7 (Pages 22 to 25)
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 1   fine if you don't remember certain questions that       1       Q All right. Once the police put on their
 2   I'm going to ask you, too.                              2   lights and sirens, what do you do?
 3             Okay. So you're driving to get food,          3       A I pull to a dead end so I wouldn't block
 4   and suddenly you realize the cops are behind you; is    4   traffic and stuff.
 5   that right?                                             5       Q Where was that located?
 6       A Yes.                                              6       A On Gray Street right before Chelten
 7       Q Okay. Where were you when you realized            7   Avenue?
 8   that the police were behind you?                        8       Q All right. What happens next?
 9       A It was like on Chew Ave., so in between --        9       A Well, I came to the dead end. I stopped.
10   maybe like Chew and Locust area -- Chew and Locust     10   I kind of like looked out of my mirror, and he,
11   Street.                                                11   like, jumped out of car with his gun out and stuff.
12       Q And what made you realize that the police        12       Q When you say he, the two officers who
13   were behind you? Did they have their sirens on or      13   arrested you, one was a female and one was a male.
14   their lights or anything like that?                    14   So are you referring to Officer Ponente when you
15       A I just looked in my mirror. They didn't          15   say: He jumped out?
16   have their lights on. They were just behind me,        16       A Yes.
17   so...                                                  17       Q Okay. So Officer Ponente jumps out, you
18       Q Okay. So what do you do when you realize         18   said, with a gun drawn; is that right?
19   that they are behind you?                              19       A Yes. She did the same thing, too, though.
20       A Just continue driving, as I was doing.           20       Q Okay. And you saw all of this from your
21       Q At any point, did you disregard a stop           21   mirror?
22   sign?                                                  22       A Yeah.
23       A No.                                              23       Q Okay. What happens next?
24       Q At any point, did you fail to use your           24       A They were just yelling and yelling and

                                              Page 27                                                     Page 29
 1   turn signal while making a turn on to -- at the         1   yelling and approaching the car, as well.
 2   intersection of 21st Street and Nedro Ave -- I never    2       Q Did the officers order you out of the car?
 3   know how to say that.                                   3       A Yeah.
 4      A No.                                                4       Q What did they say?
 5      Q Okay.                                              5       A Get the F out of the car. Don't move.
 6      A In fact, the cop wasn't even behind me             6   Put your hands up -- stuff like that.
 7   until I got to Chew and Locust.                         7             So I got out of the car. I complied
 8      Q Did you ever try to avoid the police?              8   with them. I put my hands up, and I took a couple
 9      A No.                                                9   steps backwards towards them. And I got down on my
10      Q Did you ever increase the car's speed once        10   knee. That's it. I was, like, complying with them,
11   you saw the police?                                    11   also.
12      A No.                                               12       Q At the time you were stopped, did you have
13      Q At any point, do the police put on their          13   a firearm on your person?
14   lights and sirens?                                     14       A Yeah.
15      A Repeat that again. Sorry.                         15       Q Where was it located?
16      Q At any point, did the police put on their         16       A In my pocket.
17   lights and sirens on their vehicle?                    17       Q Which pocket, if you remember?
18      A Maybe like a block away from Locust, so           18       A I believe -- probably my right one.
19   whatever that cut block is right there in between      19       Q Did you tell the officers you had a gun on
20   Locust and Gray.                                       20   you?
21      Q How long after you first noticed the              21       A Yeah. I told them, and I told them I also
22   police behind you did they activate their lights?      22   had my license to carry.
23      A Maybe about 30 seconds, maybe -- to a             23       Q When did you tell them that for the first
24   minute, 30 to a minute.                                24   time?


                                                                                    8 (Pages 26 to 29)
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 1       A When he was approaching me.                       1   BY MS. ZABEL:
 2       Q Did you tell them you had a firearm on you        2       Q Why did you ask Dionte for permission to
 3   in response to a question that they asked or did you    3   have his gun?
 4   tell them proactively?                                  4       A I don't know. I just said: Can I hold
 5       A Question.                                         5   it? He said: Yeah. He gave me permission to.
 6       Q What did they say, if you remember?               6       Q Was it for protection?
 7       A He asked me something -- I can't remember,        7       A It's always for protection.
 8   but I did tell them I had a firearm and a license to    8       Q At this point in time, in February 2020,
 9   carry.                                                  9   did you own any firearms?
10       Q What happens after you tell them that you        10       A Yeah.
11   have a firearm on you?                                 11       Q How many --
12       A They took the firearm. They took the             12         MR. BELL: Objection. Relevance.
13   license and placed me under arrest -- or detained      13       Objection. Relevance.
14   me.                                                    14         Answer the question, if you can recall.
15       Q Did he put handcuffs on you?                     15   BY MS. ZABEL:
16       A Yeah.                                            16       Q How many firearms did you own?
17       Q And where did he put you?                        17       A One.
18       A In the back of a cop car.                        18       Q Did you purchase it in Georgia?
19       Q And where was your friend at this time?          19       A Yeah.
20       A He got put in a separate cop car, I              20       Q Did you bring that firearm with you when
21   believe.                                               21   you came up to Philadelphia in January or
22       Q Okay. The firearm that they recovered            22   February 2020?
23   from you, was that your firearm?                       23       A No.
24       A It was a friend's.                               24       Q Why not?

                                               Page 31                                                    Page 33
 1      Q And who was the friend?                            1       A Because I didn't.
 2      A I'd like to not disclose that information.         2       Q But then you asked your friend, Dionte,
 3      Q Okay. You have to, because you're under            3   for his gun when you were in Philadelphia, right?
 4   oath and your lawsuit is about this arrest.             4       A I mean, he's not from Philadelphia, so --
 5         MR. BELL: If you recall, Mr. Quarles,             5   I didn't ask anyone in Philadelphia for a gun, just
 6      answer the question.                                 6   to be clear.
 7         THE WITNESS: I don't recall. I don't              7       Q Okay. So where is Dionte from?
 8      recall.                                              8       A Georgia.
 9   BY MS. ZABEL:                                           9       Q Okay. So why did you bring Dionte's gun
10      Q You don't remember your friend's name?            10   to Philadelphia as opposed to your own gun?
11      A I remember his first name, but I don't            11       A Because he gave me permission to.
12   remember his last name. I don't want to give you       12       Q I understand he gave you permission.
13   the wrong name and then -- it's like lying if you      13              Why did you choose to take his gun
14   give you the wrong name, right?                        14   over your own gun?
15      Q What's his first name?                            15          MR. BELL: Objection. Relevance.
16      A Dionte, D-I-O-N-T-E.                              16          Answer the question.
17      Q And why did you have Dionte's gun on you?         17          THE WITNESS: I mean, there's nothing
18      A He gave me permission to have it.                 18       saying I can't do that or saying it's illegal
19      Q Why did you ask for his permission to have        19       or something.
20   his gun?                                               20   BY MS. ZABEL:
21         MR. BELL: Objection. Relevance. Answer           21       Q No. The question is why you preferred to
22      the question.                                       22   take one gun over another?
23         THE WITNESS: Can you repeat your                 23       A I mean, does that really matter why?
24      question?                                           24       Q Yeah. Because part of the suit that you


                                                                                    9 (Pages 30 to 33)
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